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                        15
                                                           UNITED STATES DISTRICT COURT
                        16
                                                         CENTRAL DISTRICT OF CALIFORNIA
                        17
                                                                WESTERN DIVISION
                        18
                                 UNITED TALENT AGENCY, LLC,             )   Case No. 2:19-cv-05585
                        19                                              )
                                                  Plaintiff,            )   COMPLAINT FOR VIOLATION OF
                        20                                              )   SECTION 1 OF THE SHERMAN
                                            vs.                         )   ANTITRUST ACT
                        21                                              )
                           WRITERS GUILD OF AMERICA,                    )
                        22 WEST, INC. and WRITERS GUILD                 )   DEMAND FOR JURY TRIAL
                           OF AMERICA, EAST, INC.,                      )
                        23                                              )
                                     Defendants.                        )
                        24                                              )
                                                                        )
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                            1               Plaintiff United Talent Agency, LLC (“UTA”) alleges against Defendants
                            2 Writers Guild of America, West, Inc. (“WGAW”) and Writers Guild of America,
                            3 East, Inc. (“WGAE”) (together, “WGA”) violation(s) of Section 1 of the Sherman
                            4 Antitrust Act. This Court has jurisdiction pursuant to 15 U.S.C. §§ 15 and 26, and 28
                            5 U.S.C. §§ 1331 and 1337.
                            6                                      INTRODUCTION
                            7               1.   On April 13, 2019, WGA radically upended over 40 years of settled,
                            8 mutually-beneficial business relationships between Hollywood writers and the talent
                            9 agencies that represent them. On that date, in what WGA President David Goodman
                        10 described as a “power grab” designed to “divide and conquer” talent agencies, WGA
                        11 adopted and began to enforce a so-called “Code of Conduct” that requires writers to
                        12 fire the talent agents who refused to bend the knee to WGA’s demand that talent
                        13 agencies abandon the agencies’ business practice of “packaging” and their affiliations
                        14 with content production companies. Writers who fail to follow the dictates of the
                        15 WGA and refuse to join the boycott face discipline from WGA that could substantially
                        16 and irreparably harm their careers.
                        17                  2.   When it so acted, WGA placed the interests of a few well-heeled
                        18 individuals above the interests of its membership. As explained below and as WGA
                        19 has acknowledged, the vast majority of writers benefit from packaging arrangements
                        20 by reaping the creative and financial rewards of writing engagements without having
                        21 to pay a traditional 10% commission on their income to the talent agents who procured
                        22 these engagements. Likewise, WGA undermined the interests of writers who benefit
                        23 from the increased opportunities and more favorable economic terms offered to
                        24 writers, directors, actors and other Hollywood talent by agency-affiliated production
                        25 companies, when compared to the terms offered by the traditional industry television
                        26 studios.
                        27
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                            1               3.   More to the point, WGA not only acted contrary to the interests of
                            2 writers, and other members of the Hollywood creative community, it also acted
                            3 illegally. WGA has exceeded its lawful authority as a labor union by organizing an
                            4 illegal group boycott against UTA and other talent agencies. WGA’s boycott,
                            5 attempting to impose a blanket prohibition on talent agency packaging and agency
                            6 affiliated production companies, undermines lawful competition and far exceeds any
                            7 limited exemption WGA has under the antitrust laws. To the contrary, WGA’s ban
                            8 has harmed competition in the packaging market and other markets that WGA has no
                            9 authority to regulate, has harmed UTA and other talent agencies, and has harmed the
                        10 very writer-members whom the WGA purports to represent.
                        11                  4.   WGA’s group boycott is a classic, per se violation of the Sherman Act.
                        12 UTA filed this suit to enjoin WGA’s illegal conduct and to recover treble damages
                        13 for the harm WGA’s boycott has caused. UTA also seeks to recover its attorney’s fees
                        14 and litigation costs in bringing this suit.
                        15                                              PARTIES
                        16                  5.   Plaintiff UTA is a limited liability company existing under the laws of
                        17 the State of Delaware, with its principal place of business in Beverly Hills, California.
                        18                  6.   Defendant WGAW is a California non-profit corporation headquartered
                        19 in Los Angeles, California. WGAW is a labor union representing thousands of writers
                        20 in the motion picture and television industries.
                        21                  7.   Defendant WGAE is a New York non-profit corporation headquartered
                        22 in New York City, New York. WGAE is a labor union representing thousands of
                        23 writers in the motion picture and television industries. Writers who live east of the
                        24 Mississippi River at the time of their initial membership are enrolled as members of
                        25 WGAE, whereas those to the west are members of WGAW.
                        26                  8.   WGAW and WGAE work in tandem to represent their members. Among
                        27 other things, WGAW and WGAE negotiated and entered into an industrywide
                        28                                                                COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 collective bargaining agreement, the “Minimum Basic Agreement” or “MBA,” with
                            2 the Alliance of Motion Picture and Television Producers, Inc. (“AMPTP”), a multi-
                            3 employer collective bargaining representative for motion picture and television
                            4 producers. The MBA sets a minimum compensation scale for writers for film and
                            5 television production, though writers are free to negotiate individual compensation
                            6 above these minimums, and may be represented in those negotiations by licensed
                            7 talent agents.
                            8                                 JURISDICTION AND VENUE
                            9               9.    This Court has subject-matter jurisdiction pursuant to 15 U.S.C. §§ 15
                        10 and 26, and 28 U.S.C. §§ 1331 and 1337.
                        11                  10.   This Court has personal jurisdiction over WGAW under 15 U.S.C. § 15
                        12 because WGAW resides in this District.
                        13                  11.   This Court has personal jurisdiction over WGAE because it is a
                        14 corporation that transacts business in this District under 15 U.S.C. § 22. WGAE
                        15 performs services on behalf of its members in this District; in conjunction with
                        16 WGAW, WGAE entered into the Minimum Basic Agreement with production
                        17 companies represented for the purposes of collective bargaining by the AMPTP, many
                        18 of which are located in this District; and, in conjunction with WGAW, WGAE has
                        19 sought to impose a new Code of Conduct on the Association of Talent Agents
                        20 (“ATA”), which is also located in this District.
                        21                  12.   The Court also has personal jurisdiction over WGAW and WGAE
                        22 because they are engaged in a conspiracy that is directed at, and has a direct,
                        23 substantial, reasonably foreseeable and intended effect of causing injury to the
                        24 business or property of persons and entities located in this District.
                        25                  13.   Venue is proper in this District under 15 U.S.C. § 15 and 28 U.S.C. §§
                        26 1391(b), (c) and (d) because WGAW and WGAE are subject to this Court’s personal
                        27 jurisdiction with respect to this action, and a substantial part of the events giving rise
                        28                                                                COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 to the claims for relief stated herein occurred in this District. Furthermore, UTA has
                            2 suffered and will continue to suffer harm in this District as a result of WGA’s actions.
                            3                                   FACTUAL BACKGROUND
                            4               14.   UTA is a global talent agency representing many talented individuals
                            5 working in film, television, news, music, sports, theater, fine art, literature, social
                            6 media, video games, podcasts, and other media, including writers for film and
                            7 television. UTA employs many of the industry’s most experienced talent agents and
                            8 strives to foster a culture of entrepreneurship, working not only to secure employment
                            9 for its clients but also to help them launch new TV series and films, sell screenplays,
                        10 develop companies, find financing, and more. UTA’s success is a testament not only
                        11 to the talent of the writers and other artists it represents, but also to UTA’s singular
                        12 focus on putting clients first.
                        13                  15.   UTA is involved in the process of developing television and film content,
                        14 working closely with its clients to put together “packages” of the key elements
                        15 necessary to create new shows, including talent (such as writers, directors, and actors),
                        16 scripts, and concepts. UTA pitches these packages, always with the knowledge and
                        17 consent of its clients (including writers) to production companies, who purchase the
                        18 package in exchange for a fee and use it as the core for a new show or film. When
                        19 UTA receives a package fee from a production company, it forgoes charging a
                        20 commission to its clients.
                        21                  16.   In addition, in late 2018, UTA entered into an affiliation with Media
                        22 Rights Capital (“MRC”), a production company, to increase competition with
                        23 traditional studios and provide additional opportunities for UTA’s clients and other
                        24 artists. The recent UTA-MRC affiliation, known as Civil Center Media, has
                        25 consistently offered writers, directors, actors and others more favorable terms than
                        26 those traditionally offered by Hollywood studios. No UTA client is pitched to MRC
                        27 or Civic Center Media without his or her knowledge and consent. UTA’s relationship
                        28                                                                  COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 with Civic Center is always disclosed, as are options for employment with other
                            2 studios, and UTA encourages its clients to retain independent attorneys to review
                            3 deals with Civic Center (and, in fact, any other deal for the clients’ services).
                            4               17. WGA has been aware of and has expressly agreed to the practice of
                            5 packaging for over 40 years, and also permitted talent agencies to participate in
                            6 content production. In 1976, WGA and the Association of Talent Agents (“ATA”)
                            7 (then known as the Artists’ Managers Guild), of which UTA is one of over 100
                            8 member agencies, entered into the Artists’ Manager Basic Agreement (“AMBA”),
                            9 attached hereto as Exhibit A. The AMBA expressly permitted packaging, see AMBA
                        10 § 6, and did not prohibit agencies, like UTA, from affiliating with production
                        11 companies. Until April 2019, WGA franchised UTA and other talent agencies to
                        12 represent its members pursuant to the terms of the AMBA.
                        13                  18.   UTA’s writer-clients also knew of, agreed to, and benefitted from
                        14 packaging. UTA always discloses packaging arrangements to its writer clients (and
                        15 other clients), and obtains their consent before submitting them for a packaged deal.
                        16 If a writer or other client prefers not to participate in packaged shows or films, then
                        17 UTA does not package that client and will instead charge a commission.
                        18                  19.   WGA terminated the AMBA on April 12, 2019, and demanded that all
                        19 previously franchised talent agencies agree to a new “Code of Conduct,” attached
                        20 hereto as Exhibit B, that imposed a blanket ban on packaging and agency affiliated
                        21 content companies. UTA and over one hundred other agencies refused to capitulate
                        22 to WGA’s ukase, and WGA subsequently instituted its group boycott against all non-
                        23 compliant agencies. WGA’s boycott seeks to upend longstanding industry practices
                        24 and has harmed UTA and the very members the WGA claims to represent.
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                        28                                                             COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1               A.    UTA’s Longstanding Engagement in Content Packaging Benefits
                            2                     its Clients and the Industry
                            3               20.     Packaging is a long-standing practice, dating back to at least the 1950s,
                            4 through which talent agencies assemble a “package” of the key elements needed to
                            5 produce a new television show or film, including talent (e.g., writers, actors, and
                            6 directors), and associated intellectual property (such as scripts, treatments, and
                            7 concepts), and then sell the rights to that package to a production company. In doing
                            8 so, talent agencies provide a valuable service to production companies by facilitating
                            9 the development of new content, while also benefitting agency clients. Writers—and
                        10 the other talent who agree to be included in any series subject to a packaging deal—
                        11 whether or not any individual was part of the original package—do not pay any
                        12 commission to their agents (ordinarily up to 10%) in a packaged deal. Instead, the
                        13 agency is compensated directly for the service it provides in the form of a packaging
                        14 fee paid by the production company.
                        15                  21.     Packaging arrangements are individually negotiated and vary
                        16 significantly from package to package, as does the packaging fee. However, a
                        17 packaging fee generally includes (i) an upfront license fee (usually a fixed dollar
                        18 amount paid per episode) and (ii) a backend fee paying the agency a percentage of
                        19 certain profits earned by the show. Packages have sometimes also included a deferred
                        20 license fee, but such fees are increasingly rare and almost never result in any payment
                        21 even when agreed to by the talent agency and production company. Backend fees are
                        22 also rarely paid by the production company, as they are earned only on the few most
                        23 successful shows. For example, upon information and belief, over the past 5 years,
                        24 only about 5 series on the big four broadcast networks have achieved backend fees.
                        25 WGA is thus wrong when it alleges that package fees invariably involve a “3-3-10”
                        26 formula—3% upfront license fee, 3% deferred license fee, and 10% backend fee, for
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                        28                                                                   COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 the reasons described above and because packaging fees are not typically calculated
                            2 as a percentage of a show’s budget.
                            3               22.   UTA and other agencies generally provide ongoing services to a
                            4 production company as part of a package deal. For example, UTA will often assist in
                            5 developing the project after the package is purchased, and suggest staffing throughout
                            6 the run of the show.
                            7               23.   Packaging fees are paid per show, not per artist, and, as noted, UTA
                            8 typically receives the same packaging fee regardless of how many of its clients are
                            9 included in the initial package or are later hired to work on the packaged show. Hence,
                        10 when UTA enters into a packaging deal with a production company for a project, it is
                        11 assuming a large degree of business risk. For all except the rare successful show that
                        12 earns significant backend profits, UTA’s packaging fee is often similar to (and in
                        13 many cases significantly less than) what UTA would have earned from charging its
                        14 clients a commission based on their earnings.
                        15                  24.   Packaging is not the means by which talent agents negotiate the terms
                        16 and conditions of writers’ employment. Rather, packaging negotiations generally
                        17 focus on the terms of the production company’s bid for the show and the amount of
                        18 the agency’s packaging fee. UTA separately negotiates client compensation, and such
                        19 negotiations are completely independent from the packaging deal. Indeed, except for
                        20 those clients who are part of the original package, most clients are hired (and their
                        21 salaries and other terms negotiated) long after the packaging agreement has been
                        22 negotiated. Throughout this process, UTA aims to negotiate the best possible terms
                        23 for writers and all other clients it represents; UTA’s receipt or non-receipt of a
                        24 packaging fee has no impact at all on the negotiation process, UTA’s vigorous
                        25 advocacy on behalf of its clients, or the ultimate deal terms negotiated for the services
                        26 of its clients, including, but not limited to, writers’ compensation.
                        27
                        28                                                              COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1               25.     Packaging benefits UTA’s clients, including writers, both creatively
                            2 and financially. For example, packaging increases output of television series and films
                            3 by lowering the barriers to getting a new show off the ground, creating employment
                            4 opportunities for writers and other artists that otherwise would not have existed. Upon
                            5 information and belief, approximately 90% of new television shows are now
                            6 packaged, and the number of new television series released each year has increased
                            7 over 40% in the last five years.
                            8               26.     Packaging also benefits UTA’s clients by giving them an advantage in
                            9 hiring. Writers (and other clients) included in a package benefit from the
                        10 attractiveness of the package as a whole, and shows are more likely to be purchased
                        11 by a production company when packaged. Similarly, UTA is better able to place
                        12 writers and other UTA clients on shows that it has packaged, including because such
                        13 show will already involve at least some UTA clients and studios look to the packaging
                        14 agency to staff and help cast a show that the agency packaged.
                        15                  27.     UTA’s involvement in packaging also increases the net compensation
                        16 for the vast majority of writers and other UTA clients, as writers and other clients who
                        17 are part of a packaged show pay no commission to UTA. Because a traditional
                        18 commission is 10%, this savings is often significant, and provides a guaranteed
                        19 benefit to writers and other clients regardless of the ultimate success of the show.
                        20                  28.   Despite its longstanding endorsement of packaging, WGA now claims
                        21        that packaging always harms writers and creates a conflict of interest that
                        22        incentivizes agents to maximize their own fee rather than writers’ compensation.
                        23        This contention is false. UTA has every incentive to provide the best possible
                        24        representation to its clients, most notably that any client who is not satisfied is free
                        25        to leave (and will leave) UTA for one of hundreds of competing talent agencies.
                        26        Packaging does nothing to change that incentive, and can even further align the
                        27        interests of UTA and its clients by creating shared incentives for content creation.
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                            1               29.   WGA’s claim that packaging creates a conflict of interest is also
                            2 contradicted by decades of experience under the AMBA, which included a dispute
                            3 resolution procedure for writers or the WGA to seek redress for any harmful conflict.
                            4 See AMBA § 3, 8. Upon information and belief, not even one writer has ever filed a
                            5 claim against UTA based on any claimed failure by UTA to act in her/his best
                            6 interests, shattering WGA’s claim that packaging regularly harms writers.
                            7               30.   The WGA’s notion that a long-standing, mutually-beneficial,
                            8 commercial practice that everyone has always treated as something to be negotiated
                            9 in good faith, has suddenly been discovered by WGA (a sophisticated party if ever
                        10 there were one) to actually have been illegal all these many years, and that the agents
                        11 who behaved in conformity with the WGA’s own agreement all this time now deserve
                        12 to be punished for doing so, is so obviously preposterous that it cannot possibly be
                        13 correct—and it is not.
                        14                  B.    UTA’s Affiliation with Civic Center Increases Competition and
                        15                        Benefits Writers
                        16                  31.   Pursuant to UTA’s affiliation with Media Rights Capital (“MRC”),
                        17 known as Civic Center Media (“Civic Center”), UTA acquired a minority financial
                        18 interest in certain shows produced and financed by Civic Center. UTA and Civic
                        19 Center are separate companies, and operate independently of each other. UTA has no
                        20 role in the management or operations of Civic Center, which is run entirely by MRC
                        21 executives and maintains separate offices from UTA. To date, UTA’s arrangement
                        22 with Civic Center has resulted in the production of at least one new television series,
                        23 and several others have been sold to networks and are currently in development.
                        24                  32.   UTA’s agreement with MRC/Civic Center is not exclusive. MRC/Civic
                        25 Center is free to, and does, hire clients of agencies other than UTA and purchase
                        26 shows not packaged by UTA (or co-packaged by UTA and another agency or
                        27 agencies), just as it did before its agreement with UTA. Similarly, unless a client
                        28                                                             COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 prefers otherwise, UTA continues to market packages and pursue employment for its
                            2 clients with studios other than MRC and Civic Center. This is a competitive process
                            3 and Civic Center obtains business from UTA or its clients only if it makes the best
                            4 offer, and only if UTA’s clients agree to that offer.
                            5               33.   UTA’s affiliation with MRC/Civic Center benefits writers and other
                            6 UTA clients by expanding the output of television series, increasing competition with
                            7 traditional production companies, creating new employment opportunities, and
                            8 providing better terms to writers. For example, Civic Center offers better
                            9 compensation to writers than traditional production companies, including higher
                        10 wages, increased backend compensation, and better script fees. Civic Center also
                        11 charges lower fees and pursues more lucrative distribution terms than traditional
                        12 production companies, further increasing clients’ backend compensation. Upon
                        13 information and belief, Civic Center’s presence in the market is forcing traditional
                        14 production companies to improve their own offers to writers and other talent,
                        15 increasing compensation and employment for UTA’s clients.
                        16                  34.   Until it implemented its group boycott, and for the 40 plus years the
                        17 AMBA was the operative agreement between the WGA and talent agencies, WGA
                        18 did not prohibit talent agencies such as UTA from establishing affiliations with
                        19 production entities. Although WGA now contends that entities such as Civic Center
                        20 harm writers and create conflicts of interest, this is false. UTA’s affiliation with
                        21 MRC/Civic Center is disclosed to all clients, and UTA obtains informed consent from
                        22 its clients before pursuing any deal with MRC/Civic Center. Further, UTA maintains
                        23 strict separation of agents from MRC/Civic Center and does not share confidential
                        24 client information with Civic Center. UTA also encourages clients to obtain
                        25 independent legal representation to review any deals with Civic Center, and conducts
                        26 all negotiations with Civic Center at arms-length. Again, WGA’s notion that it has
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                        28                                                               COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 just recently discovered that these long-standing and properly disclosed practices are
                            2 somehow actually illegal is utterly preposterous.
                            3               C.    WGA Has Organized An Unlawful Group Boycott Against UTA
                            4                     And Other Talent Agencies
                            5               35.   In February 2018, WGA announced that it intended to terminate the
                            6 AMBA and institute a new “Code of Conduct” imposing a blanket ban on packaging
                            7 and agency affiliated content producers. The Association of Talent Agents (“ATA”)
                            8 attempted to negotiate with the WGA, and made several detailed proposals that would
                            9 preserve the ability of talent agencies to engage in packaging and to affiliate with
                        10 production companies, but with tailored protections for writers providing means to
                        11 remedy any conflicts of interest that might be asserted. A copy of ATA’s proposal is
                        12 attached hereto as Exhibit C. The WGA summarily rejected ATA’s proposals.
                        13                  36.   On April 13, 2019, WGA unilaterally enacted its new Code of Conduct,
                        14 and stated that all talent agencies must comply with its terms in order to represent
                        15 WGA members. The Code of Conduct includes the following provisions concerning
                        16 packaging and agency affiliated production companies (Ex. B, at 2):
                        17                        a.    No Agent shall have an ownership or other financial interest in,
                        18                              or shall be owned by or affiliated with, any entity or individual
                        19                              engaged in the production or distribution of motion pictures.
                        20                        b.    No Agent shall have an ownership or other financial interest in,
                        21                              or shall be owned by or affiliated with, any business venture that
                        22                              would create an actual or apparent conflict of interest with
                        23                              Agent’s representation of a Writer.
                        24                        c.    No Agent shall derive any revenue or other benefit from a
                        25                              Writer’s involvement in or employment on a motion picture
                        26                              project, other than a percentage commission based on the
                        27                              Writer’s compensation or fee.
                        28                                                                 COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1                     d.    No Agent shall accept any money or thing of value from the
                            2                           employer of a Writer.
                            3               37.   Immediately after enacting its new Code of Conduct, WGA began to
                            4 implement a group boycott of non-compliant agencies and instructed its members that
                            5 they were prohibited from being represented by an agent who does not agree to the
                            6 Code of Conduct. As dictated by WGA: “No Current WGA member can be
                            7 represented by an agency that is not franchised by the Guild in accordance with
                            8 Working Rule 23.” Exhibit D, Agency Code of Conduct Implementation FAQ, at 1.
                            9 Working Rule 23 provides that members can only be represented by agencies that
                        10 sign a franchise agreement with WGA, which as of April 13 “is the WGA Agency
                        11 Code of Conduct.” Id.
                        12                  38.   WGA’s leadership has instructed WGA members that they must join the
                        13 “collective action by WGA members” to refuse to deal with any agents or agencies
                        14 who do not agree to the Code of Conduct. See Ex. D, Agency Code of Conduct
                        15 Implementation FAQ, at 1 (“If my agency does not sign the Code of Conduct, do I
                        16 have to tell them they cannot represent me? Yes, but you will do so as part of a
                        17 collective action by WGA members.”). WGA has threatened union discipline against
                        18 any of its members who continue to work with such “non-franchised” agencies and
                        19 agents. See id., at 4-5 (“How will Working Rule 23 be enforced? … [A]fter the Guild
                        20 decides on collective action members are obligated to follow Guild rules, which will
                        21 be enforced. … Article X of the WGAW and WGAE Constitutions guides Guild
                        22 disciplinary procedures.”); see also Rules for Implementation of the WGA Code of
                        23 Conduct for Agents, attached hereto as Exhibit E, at ¶ 4 (“Members in violation of
                        24 Working Rule 23 shall be subject to discipline in accordance with Article X of the
                        25 WGAW Constitution.”).
                        26                  39.   WGA’s directive to its members to boycott talent agencies that do not
                        27 submit to the Code of Conduct applies not only to writers, but also to WGA members
                        28                                                               COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 who are acting in their capacity as producers. See Ex. D, Agency Code of Conduct
                            2 Implementation FAQ (Q. What if I’m a TV writer/producer? A. [P]roducing services
                            3 are deemed part of writing when performed by writer-producers . . . under Working
                            4 Rule 23 non-franchised agents cannot represent WGA writers with respect to these
                            5 hyphenate services, and a member who has historically been employed as a hyphenate
                            6 cannot avoid the Guild’s jurisdiction by re-labeling a contract as a producer-only
                            7 deal.”). WGA’s Code of Conduct also demands that UTA and other agencies disclose
                            8 the confidential terms of producing deals made with production companies by clients
                            9 who are also writers, even if the agency’s clients do not consent.
                        10                  40.   Upon information and belief, WGA is compiling a record of those
                        11 members who fire their non-franchised agents, and those members who continue to
                        12 work with their non-franchised agents. The latter group will be subject to discipline
                        13 by a tribunal of WGA members, in what is likely to be an expedited process, and the
                        14 penalty could be a significant monetary fine or expulsion from WGA. WGA members
                        15 who choose to work with a non-franchised talent agent risk becoming blacklisted if
                        16 they refuse to join WGA’s boycott.
                        17                  41.   By reason of the above conduct, WGA has organized a group boycott in
                        18 which all agency packaging and content affiliation have been banned, and both willing
                        19 and coerced writer-members have agreed to boycott UTA and other talent agents who
                        20 will not submit to WGA’s prohibitions on packaging and content affiliates. To date,
                        21 over 1,700 of UTA’s writer-clients have terminated UTA due to WGA’s group
                        22 boycott. WGA claims that, in total, 7,000 writers have terminated their agents as a
                        23 result of WGA’s group boycott, representing approximately 80% of WGA writers
                        24 represented at the time of the boycott.
                        25                  42.   WGA has also combined with non-labor entities to facilitate and enforce
                        26 its unlawful group boycott, including producers (showrunners), certain talent
                        27 agencies, and lawyers and managers.
                        28                                                                 COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1               43.   First, WGA has combined with producers (showrunners) to enforce its
                            2 boycott, demanding that showrunners refuse to do business with any agency that has
                            3 not agreed to WGA’s Code of Conduct. Producers and showrunners (including those
                            4 who may also act as writers) are non-labor entities because they oversee production
                            5 on behalf of a production company and are responsible for hiring and supervising
                            6 other talent, managing the budget, overseeing filming and post-production, and other
                            7 tasks. Upon information and belief, some producers and showrunners have joined
                            8 WGA’s ban, and have refused to accept packaging proposals from UTA and other
                            9 non-franchised agencies. The WGA also has attempted to combine with production
                        10 companies to enforce its boycott. See Exhibit F (WGA Proposal to the Alliance of
                        11 Motion Picture and Television Producers (“AMPTP”)). To date, UTA is informed and
                        12 believes that production companies have resisted joining the boycott on the grounds
                        13 that it “would subject [AMPTP], the WGA and individual writers to a substantial risk
                        14 of liability for antitrust violations,” but that WGA continues to unlawfully threaten
                        15 and pressure these production companies to join its unlawful group boycott.
                        16                  44.   Second, WGA has entered into agreements with certain talent agencies
                        17 that will agree to be bound by the Code of Conduct, that permit those agencies to
                        18 represent WGA members while maintaining and enforcing the boycott against non-
                        19 consenting agencies. These agencies have obtained an anticompetitive advantage by
                        20 virtue of their facilitation of the boycott, as such agencies may continue to represent
                        21 writers and may poach clients from agencies that are currently subject to the boycott,
                        22 while their competitors are excluded from the market.
                        23                  45.   Third, WGA has combined with lawyers and talent managers to sustain
                        24 its boycott and mitigate the harm that WGA’s actions have caused to its own
                        25 members. Specifically, on March 20, 2019, WGA purported to temporarily authorize
                        26 managers and lawyers to procure employment and negotiate overscale terms and
                        27 conditions of employment for individual writers. But, under California, New York,
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                            1 and certain other state laws, only licensed talent agents may lawfully represent writers
                            2 in their individual negations with production companies. WGA’s purported act of
                            3 “delegation” has conferred an anticompetitive benefit on these unlicensed lawyers and
                            4 managers, purportedly conferring on them non-existent authority to engage in
                            5 representation without complying with the licensing requirements applying to
                            6 licensed talent agencies and without competition from talent agencies that are subject
                            7 to WGA’s group boycott.
                            8               46.    Upon information and belief, WGA has also adopted a policy of (i)
                            9 paying the damages of any lawyers or talent managers who act pursuant to WGA’s
                        10 purported delegation and are sued by talent agencies or clients for violating the
                        11 California Talent Agency Act (“TAA”), and (ii) reimbursing unlicensed lawyers and
                        12 managers who act pursuant to its delegation but are not paid by a writer (and who as
                        13 unlicensed entities otherwise could not recover from that writer). Upon information
                        14 and belief, these policies have caused, induced, and/or encouraged unlicensed lawyers
                        15 and managers to combine with WGA’s unlawful group boycott and violate the TAA.
                        16                                             CLAIM ONE
                        17                  (Violation of Section 1 of The Sherman Antitrust Act – 15 U.S.C. § 1)
                        18                  47.   UTA incorporates by reference and re-alleges all previous paragraphs as
                        19 if fully set forth herein.
                        20                  48.   WGA’s group boycott and concerted refusal to deal with talent agents
                        21 who will not agree to the Code of Conduct is a per se violation of Section 1 of the
                        22 Sherman Act (15. U.S.C. § 1).
                        23                  49.   WGA has entered into a contract, combination, or conspiracy to
                        24 unreasonably restrain trade and impose a group boycott on non-compliant talent
                        25 agencies, including with (1) its writer-members, some of whom are independent
                        26 contractors and employers, (2) producers and showrunners, (3) certain talent agencies,
                        27 and/or (4) unlicensed lawyers and managers.
                        28                                                                 COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1               50.   WGA’s group boycott also qualifies as an unlawful restraint of trade
                            2 under the rule of reason. Under the rule of reason, the Court would weigh the
                            3 anticompetitive harm caused by WGA’s restrictions against any ostensible
                            4 procompetitive benefit of those same restrictions. This inquiry would include defining
                            5 the relevant economic market(s) in which WGA is restraining competition, assessing
                            6 WGA’s market power in these markets, and considering whether WGA could achieve
                            7 any ostensible procompetitive benefit of its agency packaging and agency-affiliate
                            8 content bans in a less restrictive manner.
                            9               51.   WGA has unreasonably restrained competition in the market for the
                        10 development of scripted television series and movies in the United States by abusing
                        11 and leveraging its power in the labor market for writers to eliminate the agencies as
                        12 providers of packaging, reducing output of new shows and harming artists who benefit
                        13 from packaging. Writers are essential components of packages, and talent agencies
                        14 are the primary providers of packaging. Similarly, WGA’s agency-affiliate content
                        15 ban (also enforced by WGA’s market power over writers) has unreasonably restrained
                        16 competition in the market for the development of scripted shows and movies in the
                        17 United States, and the market for the employment of writers and other artists in the
                        18 United States, by eliminating agency-affiliates as competitors with traditional studios.
                        19                  52.   WGA’s unlawful boycott has also unreasonably restrained competition
                        20 in the market for writer representation services in the United States, excluding the
                        21 majority of talent agencies from the market and preventing writers from working with
                        22 agents of their choice. There are no substitutes for the representation services provided
                        23 in this market and there is no cross-elasticity of demand with managers or lawyers or
                        24 other potential representatives because, under California, New York, and a number of
                        25 other state laws, only licensed talent agents may independently procure employment
                        26 for writers in their negotiations with studios. WGA’s boycott has also conferred an
                        27 anticompetitive benefit on those who remain in the market, including talent agencies
                        28                                                               COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1 that have combined with the WGA and unlicensed lawyers and managers working
                            2 pursuant to the WGA’s purported delegation of authority.
                            3               53.   There is no pro-competitive justification for banning agency packaging
                            4 and agency-affiliate content production and distribution, much less a justification
                            5 outweighing the anticompetitive effects. Here, the only competitive effect of the
                            6 challenged restraints is to eliminate UTA and other agencies who refuse to sign the
                            7 Code of Conduct as competitors in the relevant markets. These restraints on their face
                            8 thus reduce—not enhance—competition. And even if there were some pro-
                            9 competitive justification for WGA’s boycott, WGA could achieve any such objective
                        10 through far less restrictive alternatives, such as tailored regulations addressing
                        11 conflicts of interest of the type in the AMBA or in ATA’s proposal.
                        12                  54.   UTA has suffered and will continue to suffer irreparable antitrust injury
                        13 to its business and property as a direct and proximate result of WGA’s unlawful
                        14 conspiracy. WGA’s group boycott has caused UTA to lose work, clients,
                        15 commissions, and packaging fees that it would have earned absent WGA’s illegal
                        16 conduct. Damage to UTA as a result of WGA’s unlawful conduct is ongoing, and
                        17 UTA will prove the amount of damages it has suffered as a result of WGA’s antitrust
                        18 violation at trial. WGA’s boycott has also harmed artists and consumers by reducing
                        19 output of new shows.
                        20                  55.   WGA’s group boycott is not exempt from the antitrust laws because (1)
                        21 WGA has combined with non-labor entities to enforce and sustain its boycott, and (2)
                        22 WGA’s boycott is not in furtherance of a legitimate union interest. WGA’s blanket
                        23 ban on packaging and agency content affiliates goes far beyond the labor market for
                        24 writer services and does not fall within WGA’s labor law authority, nor does it bear
                        25 any resemblance to traditional collective bargaining activities.
                        26
                        27
                        28                                                                  COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1                                     PRAYER FOR RELIEF
                            2               WHEREFORE, UTA respectfully requests that the Court enter judgment
                            3 against WGA:
                            4               1.   Declaring that WGA’s bans on agency packaging and content affiliates,
                            5     and concerted refusal to deal and group boycott to enforce these bans, is an illegal
                            6     contract, combination, or conspiracy constituting an unreasonable restraint of trade
                            7     in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1;
                            8               2.   Permanently enjoining the challenged conduct;
                            9               3.   Awarding UTA treble damages for the injury caused by WGA, in an
                        10        amount to be proven at trial;
                        11                  4.   Awarding UTA its costs and attorney’s fees, in an amount to be proven
                        12        at trial;
                        13                  5.   Awarding pre-and post-judgment interest at the maximum rate
                        14        allowable; and
                        15                  6.   Ordering such other and further relief as the Court may deem just and
                        16        equitable.
                        17
                        18            Dated: June 27, 2019                  Respectfully submitted,
                        19                                                  IRELL & MANELLA LLP
                        20
                                                                            MITCHELL SILBERBERG & KNUPP
                        21                                                  LLP
                        22
                        23
                        24                                                  By: /s/ Steven A. Marenberg
                                                                                Steven A. Marenberg
                        25
                                                                                   Attorneys for Plaintiff
                        26                                                         United Talent Agency, LLC
                        27
                        28                                                                COMPLAINT FOR VIOLATION OF SECTION 1 OF THE
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                            1                                  DEMAND FOR JURY TRIAL
                            2               Pursuant to Federal Rule of Civil Procedure 38, Plaintiff UTA demands trial
                            3 by jury on all issues so triable.
                            4
                                 Dated: June 27, 2019                         Respectfully submitted,
                            5
                            6                                                 IRELL & MANELLA LLP

                            7                                                 MITCHELL SILBERBERG & KNUPP
                                                                              LLP
                            8
                            9
                        10                                                    By: /s/ Steven A. Marenberg
                        11                                                        Steven A. Marenberg

                        12                                                           Attorneys for Plaintiff
                                                                                     United Talent Agency, LLC
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